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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                                     Chapter 11

 STARION ENERGY, INC., et al.,                              Case No. 18-12608 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            RE: Docket No. 48

          INTERIM ORDER APPROVING SECURED POSTPETITION FINANCING

          THIS MATTER having come before the Court upon the motion (the “DIP Motion”) 1 of

the debtors and debtors in possession (the “Debtors”) in the above-captioned Chapter 11 cases (the

“Cases”) seeking entry of interim (the “Interim Order”) and final (the “Final Order”) orders

authorizing the Debtors, pursuant to sections 105, 361, 362, 363, 364, 365 and 507 of title 11 of

the United States Code, 11 U.S.C. §§ 101 et seq. (as amended, the “Bankruptcy Code”), Rules

2002, 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Del. Bankr. L.R. 4001-2, for the Debtors inter alia,

                 (1) to obtain secured, superpriority post-petition financing up to an aggregate

          principal amount not to exceed $3,000,000 upon entry of the Interim Order and in the

          amount of $6,000,000 upon entry of the Final Order, plus accrued interest on the aggregate

          principal amount (the “DIP Loan”) upon the terms and conditions set forth in the Loan

          Documents (as defined below), from GF Star IV, LLC (the “DIP Lender”), and for the

          Debtors to execute the Debtor in Possession Credit Agreement with respect to the DIP

          Loan substantially in the form attached as Exhibit A to the DIP Motion (as it may be

          amended, supplemented, restated, or otherwise modified from time to time, the “DIP Credit


          1
        Capitalized terms not defined herein have the meaning ascribed to them in the DIP Motion and/or Loan
Documents, as applicable.
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       Agreement”); and for the Debtors to execute a promissory note (the “Note”) and Security

       Agreement (“the Security Agreement”) each in substantially the form attached to the DIP

       Credit Agreement (the DIP Credit Agreement, the Note, the Security Agreement and all

       ancillary documents at any time executed in connection therewith, collectively, the “Loan

       Documents”);

               (2) to grant the DIP Lender: (A) a first priority perfected lien, pursuant to Section

       364(c)(2) of the Bankruptcy Code, upon all of Debtors’ Collateral that is not subject to

       valid perfected and non-avoidable liens in existence at the time of the commencement of

       the Cases, and (B) a second priority perfected lien upon all of Debtors’ Collateral that is

       subject to valid perfected and non-avoidable liens in existence at the time of the

       commencement of the Cases; and

                (3) to execute and deliver the Loan Documents to the DIP Lender and to reasonably

       cooperate with the DIP Lender in obtaining for the DIP Lender valid and perfected security

       interests and liens as security for the Obligations as set forth herein (the “DIP

       Obligations”).

       The Court having considered the DIP Motion and the exhibits attached thereto, the

Declaration of Thomas Stiner in support of the chapter 11 petitions and first day motions, the

Loan Documents, and the evidence submitted or adduced and the arguments of counsel made at

the hearing held on held on December 6, 2018 (the “Interim Hearing”); and adequate notice of the

Interim Hearing having been provided, and the Interim Hearing having been held and concluded;

and all the objections to the relief requested in the DIP Motion having been withdrawn, resolved

or overruled by the Court; and after due deliberation and consideration, and for good and sufficient

cause appearing therefor;




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       BASED ON THE RECORD ESTABLISHED AT THE INTERIM HEARING THE

COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:


       1.      On November 14, 2018 (the “Petition Date”), the Debtors filed voluntary petitions

under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware (the “Court”) commencing these Cases.

       2.      The Debtors are continuing in the management and operation of their businesses

and properties as debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy

Code. No trustee or examiner has been appointed in these Cases.

       3.      This Court has jurisdiction, pursuant to 28 U.S.C. §§ 157(b) and 1334, over these

proceedings, and over the property affected hereby. Consideration of the DIP Motion constitutes

a core proceeding under 28 U.S.C. § 157(b)(2). Venue for these Cases and proceeding on the DIP

Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      As of the date hereof, the United States Trustee (the “U.S. Trustee”) has not yet

appointed an official committee of unsecured creditors in these Cases pursuant to section 1102 of

the Bankruptcy Code (a “Statutory Committee”).

       5.      The Debtors need to obtain credit pursuant to the DIP Credit Agreement as each of

the Debtors does not have sufficient available sources of working capital and financing to operate

its business or maintain its properties in the ordinary course of business without the DIP Loan.

       6.      The Debtors’ access to sufficient working capital and liquidity through the

incurrence of postpetition financing under the DIP Loan is vital to maximizing the value of each

of the Debtor’s estates. Without access to the DIP Loan, the Debtors lack sufficient funds to pay

administrative expenses or maintain their respective operations pending the conclusion of the



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Cases. As a result, without the DIP Loan, the estate of each of the Debtors would suffer immediate

and irreparable harm.

       7.      The Debtors are unable to obtain financing from sources other than the DIP Lender

on terms more favorable than the DIP Loan. The Debtors have been unable to obtain unsecured

credit allowable under Bankruptcy Code section 503(b)(1) as an administrative expense.

       8.      Financing on a postpetition basis is not otherwise available without granting the

DIP Lender: (A) a first priority perfected lien, pursuant to Section 364(c)(2) of the Bankruptcy

Code, upon all of Debtors’ Collateral that is not subject to valid perfected and non-avoidable liens

in existence at the time of the commencement of the Cases, (B) a second priority perfected lien

upon all of Debtors’ Collateral that is subject to valid perfected and non-avoidable liens in

existence at the time of the commencement of the Cases, and (C) an allowed superpriority

administrative expense claim in the Cases pursuant to Section 364(c)(1) of the Bankruptcy Code

having priority over any or all administrative expenses of the kind specified in Sections 503(b) or

507(b) of the Bankruptcy Code.

       9.      As a condition to the entry into the DIP Credit Agreement and the extension of

credit under the DIP Loan, the DIP Lender requires, and the Debtors have agreed, that proceeds of

the DIP Loan shall be used in a manner consistent with the terms and conditions of the Loan

Documents.

       10.     The DIP Lender shall, upon the entry of this Interim Order, be entitled to and

receive (a) a waiver of any “equities of the case” claims under section 552(b) of the Bankruptcy

Code; and (b) upon entry of the Final Order, a waiver of the provisions of section 506(c) of the

Bankruptcy Code.




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       11.     The DIP Lender is willing to provide financing to the Debtors subject to: (a) the

entry of this Interim Order; (b) approval of the terms and conditions of the DIP Loan and the Loan

Documents and satisfaction of all conditions precedent in the Loan Documents; and (c) entry of

findings by this Court that such financing is essential to each of the Debtor’s estate, that the DIP

Lender is extending credit to the Debtors pursuant to the Loan Documents in good faith, and that

the DIP Lender’s claims, super-priority claims, security interests, liens, rights, and other

protections granted pursuant to this Interim Order and the Loan Documents will have the

protections provided in section 364(e) of the Bankruptcy Code and will not be affected by any

subsequent reversal, modification, vacatur, amendment, re-argument or reconsideration of this

Interim Order or any other order, or by the filing or pendency of any motion or appeal seeking to

reverse, modify, vacate, amend, reargue, or reconsider this Interim Order or any other order.

       12.     The terms and conditions of the DIP Loan and the Loan Documents, and the fees

paid and to be paid thereunder, are fair, reasonable, and the best available to the Debtors under the

circumstances, reflect the Debtors’ exercise of prudent business judgment consistent with their

fiduciary duties, and are supported by reasonably equivalent value and consideration. The DIP

Loan and the DIP Liens (as defined herein) were negotiated in good faith and at arms’ length

among the Debtors, and the DIP Lender and are therefore entitled to the protection and benefits of

section 364(e) of the Bankruptcy Code.

       13.     Notice of the Interim Hearing and the relief requested in the DIP Motion was

provided by the Debtors, by overnight courier or hand delivery, to certain parties in interest,

including: (i) the U.S. Trustee; (ii) each of the Debtor’s twenty largest unsecured creditors; (iii)

counsel to the DIP Lender; and (iv) all persons requesting notice in this case pursuant to Federal

Rule of Bankruptcy Procedure 2002. The parties have made reasonable efforts to afford the best




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notice possible under the circumstances to permit the interim relief set forth in this Interim Order,

and no other or further notice is or shall be required.

       14.     Based upon the foregoing findings and conclusions, the DIP Motion and the record

before the Court with respect to the DIP Motion, and good and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED that:


       1.      The DIP Motion is granted on an interim basis, subject to the terms and conditions

set forth in this Interim Order.

       2.      All objections to the DIP Motion, if any, to the extent not withdrawn or resolved

are hereby overruled.

       3.      The Debtors are expressly and immediately authorized, empowered and directed to

execute and deliver the Loan Documents, and to incur and to perform the DIP Obligations in

accordance with, and subject to, the terms of this Interim Order and the Loan Documents, and to

deliver all instruments and documents which may be required or necessary for the performance by

the Debtors under the DIP Loan and the creation and perfection of the DIP Liens described in and

provided for by this Interim Order and the Loan Documents. The Debtors are hereby authorized

and directed to pay (in cash or in kind as applicable) the principal, interest, fees, expenses and

other amounts described in the Loan Documents and all other documents comprising the DIP Loan

as such become due and without need to obtain further Court approval to the extent provided in

the Loan Documents.

       4.      Upon execution and delivery, the Loan Documents shall represent valid and

binding obligations of the Debtors, enforceable, in accordance with the terms of the Loan

Documents, against the Debtors, their estates, and any successors thereto, including without

limitation, any trustee or other estate representative appointed in the Cases, or any cases under



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chapter 7 of the Bankruptcy Code upon the conversion of any of the Cases, or in any proceedings

superseding or related to any of the foregoing.

       5.      Subject to the terms and conditions set forth in the Loan Documents, and in order

to prevent immediate and irreparable harm to each of the Debtor’s estates, the Debtors are hereby

authorized to borrow from the DIP Lender, up to $3,000,000 upon entry of this Interim Order.

Authorization is hereby granted for the proceeds of the Loan to be used to meet each of the

Debtor’s obligations, in a manner consistent with the terms of the Loan Documents and this Interim

Order and to pay when due expenses of the types and in amounts set forth in the DIP Credit

Agreement.

       6.      As collateral for the Loan, upon entry of this Interim Order, the DIP Lender is

granted, pursuant to sections 361, 362, 364, and 507(b) of the Bankruptcy Code, a continuing,

binding, enforceable, non-avoidable and automatically and properly perfected postpetition security

interest in and liens on all rights, title and interests of the Debtors in the Collateral (the “DIP

Liens”).

       7.      Subject to the Carve-Out, the DIP Liens shall constitute: (A) a first priority

perfected lien, pursuant to Section 364(c)(2) of the Bankruptcy Code, upon all of Debtors’

Collateral that is not subject to valid perfected and non-avoidable liens in existence at the time of

the commencement of the Cases, and (B) a second priority perfected lien upon all of Debtors’

Collateral that is subject to valid perfected and non-avoidable liens in existence at the time of the

commencement of the Cases. “Carve-Out” means the sum of: (i) all fees required to be paid to the

clerk of the Bankruptcy Court and to the Office of the United States Trustee under section 1930(a)

of title 28 of the United States Code and 31 U.S.C. §3717 and (ii) all accrued and unpaid claims

for unpaid fees, costs, disbursements, charges and expenses incurred at any time before an Event




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of Default (as defined herein) by the Borrower’s or any statutory committee’s professionals whose

retention is approved by the Bankruptcy Court to the extent such fees and expenses are approved

by the Bankruptcy Court.

       8.      The DIP Liens on claims and/or causes of action existing under the Bankruptcy

Code, including, but not limited to, claims and/or causes of action existing under Sections 542,

544, 547, 548, 549, and/or 550 of the Bankruptcy Code shall not become effective until entry of

the Final Order.

       9.      Subject to entry of the Final Order, the Debtors shall not assert a claim under

Bankruptcy Code § 506(c) for any costs and expenses incurred in connection with the

preservations, protection or enhancement of, or realization by the DIP Lender upon the Collateral.

The DIP Liens shall not be subject to sections 506(c), 510, 549, or 550 of the Bankruptcy Code.

No lien or interest avoided and preserved for the benefit of any estate pursuant to section 551 of

the Bankruptcy Code shall be made pari passu with or senior to the DIP Liens.

       10.     Upon entry of this Interim Order, the DIP Lender is granted an allowed

superpriority administrative expense claim in the Case pursuant to Section 364(c)(1) of the

Bankruptcy Code having priority over any or all administrative expenses of the kind specified in

Sections 503(b) or 507(b) of the Bankruptcy Code.

       11.     Upon entry of this Interim Order, the Debtors are explicitly authorized to execute

and deliver the Loan Documents to the DIP Lender and to reasonably cooperate with the DIP

Lender in obtaining for the DIP Lender valid and perfected security interests and liens for the

Obligations set forth herein.

       12.     The DIP Lender shall not have any obligation to make any loan or advance under

the Loan Documents, unless all of the conditions precedent to the making of such extension of




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credit under the applicable Loan Documents and this Interim Order have been satisfied in full or

waived in writing by the DIP Lender.

         13.   The Loan Documents may from time to time be amended, modified or

supplemented in a non-material manner by the parties thereto without notice or a hearing if: (a)

the amendment, modification, or supplement is: (i) in accordance with the Loan Documents; (ii)

beneficial to the Debtors; and (iii) not prejudicial in any material respect to the rights of third

parties; (b) a copy (which may be provided by fax or email) of the amendment, modification or

supplement is provided to counsel for any Statutory Committee and the U.S. Trustee; and (c) the

amendment, modification or supplement is filed with the Court; provided, however, that consent

of any Statutory Committee or the U.S. Trustee, and approval of the Court are not necessary to

effectuate any such amendment, modification, or supplement. Except as otherwise provided

herein, no waiver, modification, or amendment of any of the provisions of any Loan Document

shall be effective unless set forth in writing, signed on behalf of the Debtors and the DIP Lender;

and in the case of material modifications, waivers or amendments, approved by the Court on notice.

         14.   The automatic stay imposed under Bankruptcy Code section 362(a) is hereby

modified as to the extent necessary to effectuate all of the terms and provisions of this Interim

Order, including, without limitation, to: (a) permit the Debtors to grant the DIP Liens; (b) permit

the Debtors to perform such acts as the DIP Lender may request in its sole discretion to assure the

perfection and priority of the liens granted herein; and (c) permit the Debtors to incur all liabilities

and obligations to the DIP Lender under the Loan Documents, the DIP Loan and this Interim

Order.

         15.    This Interim Order shall be sufficient and conclusive evidence of the validity,

perfection, and priority of the DIP Liens by operation of law without the necessity of any further




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action by the DIP Lender or filing or recording any financing statement, mortgage, notice, or other

instrument or document which may otherwise be required under the law or regulation of any

jurisdiction or the taking of any other action (including, for the avoidance of doubt, entering into

any deposit control agreement) to validate or perfect (in accordance with applicable non-

bankruptcy law) the DIP Liens, or to entitle the DIP Lender to the priorities granted herein.

Notwithstanding the foregoing, the DIP Lender is authorized to file, as it deems necessary or

advisable in its sole discretion, such financing statements, mortgages, notices and other instrument

or documents to perfect in accordance with applicable non-bankruptcy law or to otherwise

evidence the applicable DIP Liens and all such financing statements, mortgages, notices and other

documents shall be deemed to have been filed or recorded as of the Petition Date; provided,

however, that no such filing or recordation shall be necessary or required in order to create,

evidence or perfect the DIP Liens. The Debtors are authorized and directed to execute and deliver

promptly upon demand to the DIP Lender, all such financing statements, mortgages, titles

insurance policies, notices, instruments, and other documents as the DIP Lender may reasonably

request. The DIP Lender may, in its sole discretion, file a photocopy of this Interim Order as a

financing statement or notice with any filing or recording office or with any registry of deeds or

similar office, in addition to or in lieu of such financing statements, mortgages, notices of lien,

instrument, or similar document.

       16.     If the Debtors, any trustee, any examiner with enlarged powers, any responsible

officer or any other estate representative subsequently appointed in these Cases or any successor

Case, shall obtain credit or incur debt pursuant to Bankruptcy Code sections 364(b), 364(c), or

364(d) in violation of the Loan Documents at any time prior to the indefeasible repayment in full

in cash of all DIP Obligations and the termination of the DIP Lender’s obligation to extend credit




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under the DIP Loan, including subsequent to the confirmation of any plan with respect to the

Debtors and the Debtors’ estates, and such financing is secured by any DIP Collateral, then all the

cash proceeds derived from such credit or debt shall immediately be turned over to the DIP Lender.

        17.     The Debtors shall not sell, transfer, lease, or otherwise dispose of any portion of

the DIP Collateral without the prior written consent of the DIP Lender (and no such consent shall

be implied, from any other action, inaction or acquiescence) or as expressly permitted in the Loan

Documents, it being understood that any sale, transfer, lease or other disposition of any of the

Debtors or all or substantially all of the assets or properties of any or all of the Debtors shall at all

times require the prior written consent of the DIP Lender.

        18.     The occurrence of an “Event of Default” under the DIP Credit Agreement, as set

forth therein shall constitute an event of default under this Interim Order, unless waived in writing

by the DIP Lender (the “Events of Default”).

        19.     Upon the occurrence of an Event of Default, the DIP Lender shall deliver a notice

of the Event of Default to Borrower, any Statutory Committee and the Office of the United States

Trustee and (a) all commitments of the DIP Lender to make advances under the DIP Credit

Agreement, if any, shall terminate; (b) the DIP Lender may declare the DIP Obligations owed by

the Debtors to be accelerated and due and payable at once, whereupon such Dip Obligations,

together with interest thereon, shall forthwith become due and payable, all without presentment,

demand, protest or other notice of any kind from the DIP Lender; and (c) upon five (5) business

days written notice to the Debtors, any Statutory Committee and the Office of the United States

Trustee, the automatic stay of section 362 of the Bankruptcy Code shall be terminated without

further order of the Court, without the need for filing any motion for relief from the stay or any

other pleading, for the purpose of permitting the DIP Lender to foreclose on the Collateral and




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proceed to do other all things provided by law, equity or contract to enforce its rights under the

Loan Documents and to collect all amounts owing to DIP Lender. Notwithstanding the foregoing,

after the DIP Lender has provided the five (5) business days written notice of the occurrence of an

Event of Default to Borrower, any Statutory Committee and the Office of the United States

Trustee, during that time, counsel for those parties may seek an emergency hearing before the

Court for the sole purpose of determining whether an Event of Default has occurred. If the Event

of Default is pursuant to Section 8.7 of the DIP Credit Agreement, the DIP Lender shall have the

right (but not the obligation) to cure such default, whereupon any amounts expended by the DIP

Lender in connection with such cure shall be considered an advance under the Note to be repaid

in accordance with the Loan Documents

       20.     Based on the findings set forth in this Interim Order and the record made during the

Interim Hearing, and in accordance with section 364(e) of the Bankruptcy Code, in the event any

or all of the provisions of this Interim Order are hereafter modified, amended or vacated by a

subsequent order of this Court or any other court, the DIP Lender is entitled to the protections

provided in section 364(e) of the Bankruptcy Code. Any such modification, amendment or vacatur

shall not affect the extent, validity, perfection, priority, allowability, enforceability or non-

avoidability of any advances previously made or made hereunder, or lien, claim or priority granted,

perfected, authorized or created hereby. Any liens or claims granted to the DIP Lender hereunder

arising prior to the effective date of any such modification, amendment or vacatur of this Interim

Order shall be governed in all respects by the original provisions of this Interim Order, including

entitlement to all rights, remedies, privileges and benefits granted herein.

       21.     The DIP Lender shall not be responsible for the direct payment or reimbursement

of any fees or disbursements of any professionals retained in the Cases. Nothing in this Interim




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Order or otherwise shall be construed: (i) to obligate the DIP Lender in any way to pay

compensation to or to reimburse expenses of any Case professional, or to guarantee that the

Debtors have sufficient funds to pay such compensation or reimbursement; or (ii) as consent to the

allowance of any professional fees or expenses of any Case professionals.

        22.     Proceeds from the DIP Loan may not be used to pay Ineligible Professional

Expenses. “Ineligible Professional Expenses” means any fees or expenses incurred by any person,

including a Statutory Committee or any Debtor in connection with the assertion of or joinder in

any claim, counterclaim, action, proceeding, application, motion, objection, defense or other

contested matter, the purpose of which is to seek or the result of which would be to obtain any

order, judgment, determination, declaration or similar relief: (A) challenging the amount, validity,

perfection, priority, ranking or enforceability of or asserting any defense, counterclaim or offset

to, the DIP Obligations under the DIP Credit Agreement, or (B) preventing, hindering or otherwise

delaying. whether directly or indirectly, the exercise by the DIP Lender of any of its respective

rights and remedies under the DIP Credit Agreement, the Loan Documents, this Interim Order, or

the DIP Lender's enforcement or realization upon any of the liens on or security interests in any

Collateral.

        23.     Except as explicitly provided for herein, this Interim Order does not create any

rights for the benefit of any third party, creditor, equity holder or any direct, indirect, or incidental

beneficiary.

        24.     Upon entry of the Final Order, no costs or expenses of administration which have

been or may be incurred in the Cases at any time shall be charged against the DIP Lender or the

DIP Collateral pursuant to section 105 or 506(c) of the Bankruptcy Code, or otherwise, without




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the prior express written consent of the DIP Lender, and no such consent shall be implied, directly

or indirectly, from any action, inaction, or acquiescence by the DIP Lender.

       25.     The DIP Lender shall not be subject to the equitable doctrine of “marshaling” or

any other similar doctrine with respect to any of the DIP Collateral.

       26.     The DIP Lender shall be entitled to all of the rights and benefits of section 552(b)

of the Bankruptcy Code, and the “equities of the case” exception under section 552(b) of the

Bankruptcy Code shall not apply to the DIP Lender.

       27.     Until and unless the DIP Obligations have been indefeasibly paid in full in cash

(such payment being without prejudice to any terms or provisions contained in the DIP Loan which

survive such discharge by their terms) and all commitments to extend credit under the DIP Loan

have been terminated, and unless the Court orders otherwise following notice and a hearing, the

Debtors agree not to seek and/or consent to, directly or indirectly: (a) without prior written consent

from the DIP Lender (i) any modification, stay, vacatur or amendment to this Interim Order (and

no such consent shall be implied by any other action, inaction or acquiescence of the DIP Lender);

or (ii) a priority claim for any administrative expense or unsecured claim against the Debtors (now

existing or hereafter arising of any kind of nature whatsoever, including, without limitation any

administrative expense of the kind specified in sections 503(b), 507(a), or 507(b) of the

Bankruptcy Code) in the Cases or any successor Cases equal or superior to the DIP Liens; (b)

without the prior written consent of the DIP Lender, any lien on any of the DIP Collateral with

priority equal or superior to the DIP Liens.

       28.     The provisions of this Interim Order and any actions taken pursuant hereto shall

survive entry of any order which may be entered: (a) confirming any plan of liquidation in the

Cases; (b) converting the Cases to cases under chapter 7 of the Bankruptcy Code; or (c) dismissing




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the Cases. The terms and provisions of this Interim Order, including the claims, liens, security

interests and other protections granted to the DIP Lender pursuant to this Interim Order and/or the

Loan Documents, notwithstanding the entry of any such order, shall continue in the Cases, in any

successor Cases, or following dismissal of the Cases or any successor Cases, and shall maintain

their priority as provided by this Interim Order until all DIP Obligations have been indefeasibly

paid in full in cash and all commitments to extend credit under the DIP Loan are terminated.

       29.     In the event of any inconsistency between the terms and conditions of the Loan

Documents and this Interim Order, the provisions of this Interim Order shall govern and control.

       30.     A final hearing (the “Final Hearing”) on the DIP Motion shall be heard on January

3, 2019 at 10:30 a.m. (ET). The Debtors shall promptly serve a copy of this Interim Order and

notice of the Final Hearing upon (i) the U.S. Trustee; (ii) each of the Debtor’s twenty largest

unsecured creditors; (iii) counsel to the DIP Lender; and (iv) all persons requesting notice in this

case pursuant to Federal Rule of Bankruptcy Procedure 2002. Objections to the entry of the Final

Order shall be in writing and shall be filed with the Court no later than December 27, 2018, which

objections shall be served so that the same are received on or before 4:00 p.m. (ET) or such date

by (i) proposed counsel to Debtors, Gellert Scali Busenkell & Brown, LLC, 1201 N. Orange Street,

Suite 300, Attn: Ronald S. Gellert and Michael Busenkell, rgellert@gsbblaw.com,

mbusenkell@gsbblaw.com, (ii) counsel to the DIP Lender, Buchanan Ingersoll & Rooney PC,

919 North Market Street, Suite 1500, Wilmington, DE, 19081 Attn: Mary F. Caloway,

mary.caloway@bipc.com; Mechanik Nuccio Hearne & Wester, P.A., 305 South Boulevard,

Tampa, FL 33606, Attn: Alfred A. Colby, aac@flordialandlaw.com, and (iii) the Office of the

United States Trustee for the District of Delaware, J. Caleb Boggs Building, 844 King Street, Suite

2207, Lockbox 35, Wilmington, DE 19801, Attn: Jane M. Leamy, jane.m.leamy@usdoj.gov.




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        31.      The Court has and will retain jurisdiction to enforce this Interim Order according

to its terms.




        Dated: December 7th, 2018
        Wilmington, Delaware                            MARY F. WALRATH
                                               - 16 -   UNITED STATES BANKRUPTCY JUDGE
